A general allegation that a husband is dependent upon his wife, so as to come within the meaning of "dependent" as used in a policy insuring the dependent members of the wife's immediate family against automobile accident, is sufficient as against general demurrer, in the absence of specific allegations of fact which negative the general allegation of dependency.
         DECIDED JUNE 14, 1949. REHEARING DENIED JULY 12, 1949.
Mrs. R. E. Roberts brought an action on a policy of insurance against Employers Insurance Company of Alabama Inc. to recover sums alleged to be due under the terms of the policy for the death of her husband. The material allegations of her petition are substantially these: On or about December 21, 1947, the defendant issued to the plaintiff a policy of insurance whereby the defendant promised to pay to the plaintiff $1000 within sixty days after the date of proof of death, if any dependent member of the plaintiff's immediate family should be killed as a result of an automobile accident described in the policy. The plaintiff is unable to attach a copy of said policy to the petition because the same was surrendered to the defendant's agent, E. W. Strickland, and is out of the possession and control of the plaintiff *Page 612 
and is within the sole possession and control of the defendant. On or about January 28, 1948, during the period the policy was in force and effect, the plaintiff's husband, R. E. Roberts, was killed as the result of an automobile accident, and at the time of his death he was riding in the automobile described in and insured under the terms of the policy. Immediately prior to the date R. E. Roberts was killed, he operated jointly with the plaintiff the businesses of farming and retail whisky sales and generally depended upon the plaintiff to assist him in the conduct and operation of said business. Prior to January 1, 1947, the plaintiff herself was the sole owner and manager of a retail grocery and market business and the success of said business was due to the labor, management, and money-making ability of the plaintiff. While the plaintiff and her husband were jointly operating the businesses of farming and retail whisky immediately prior to her husband's death, the husband was dependent upon the plaintiff for her labor, managerial abilities, and financial assistance. For a period of ten years or more prior to her husband's death, he was dependent upon her in all business and social transactions to the extent of depending and acting upon the counsel and advice given to him by the plaintiff. On February 16, 1948, the defendant was furnished with due proof of the death of R. E. Roberts, and the plaintiff has otherwise performed all the conditions imposed by the policy. On May 11, 1948, written demand was made by the plaintiff's attorneys upon the defendant for payment of the principal sum of $1000, and the defendant refused to pay said sum within sixty days after the date of said demand, which refusal was in bad faith; and the plaintiff seeks twenty-five percent on the liability of said defendant, and in addition thereto $500 as reasonable attorney's fees, because the failure of the defendant to pay the principal sum was malicious and with intent to force the plaintiff into unnecessary litigation. And the defendant was notified to produce the original policy of insurance, all proofs and notices of the death of R. E. Roberts, and the original letter of demand.
The defendant demurred to the petition upon the grounds that it set forth no cause of action, in that, under the laws of Georgia, the husband would not be a dependent member of the plaintiff's family, and that the facts alleged show that he was not dependent upon the plaintiff and did not come within the terms *Page 613 
of the policy; and that the plaintiff's allegations are not sufficient to authorize the recovery of damages and attorney's fees. This demurrer was sustained, and the plaintiff excepted.
1. "The cardinal rule of construction [of contracts] is to ascertain the intention of the parties." (Code, § 20-702), and "the construction of a contract is a question of law for the court" (§ 20-701), but an ambiguity in a contract is resolved by determining the intention of the parties, which is a question for the jury. Summerour v. Pappa, 119 Ga. 1 (4) (45 S.E. 713). The policy of insurance sued on does not appear in the record. The plaintiff alleged that it was in the possession of the defendant and gave notice in her petition for the defendant to produce it, but if it was produced, it was not included in the record for this court's consideration. We must construe the policy, therefore, solely in the light of what appears from the petition to have been provided for therein. The word "dependent" has no precise or definite general legal meaning. Its definition in ephemeral and fluid, its meaning being as conformable to the circumstances in which it is used as a fluid is conformable to the shape of its container. Counsel speak of the question of dependency in this case as being novel in this State. It is novel in this: in the decisions under the death, workmen's-compensation, and fraternal-benefit-society statutes the question involved is the payment of insurance, benefits, or compensation to the dependent for the death or injury of theinsured or obligor, whereas in this case the question involves the payment to the insured or obligor of the insurance for thedeath of the dependent (who is likewise insured under the same policy). The decisions upon the question of dependency are numerous in this State, and the recovery or denial of recovery for the death of the dependent's benefactor or obligor have been as numerous as the facts of dependency have been varied.
It is to small purpose to engage in a discussion of a husband's duty, under the law (Code, § 53-510), to support his wife. That may be conceded, as it is indisputably the law, and yet the concession offers no answer to the question of dependency. Common experience has demonstrated, and we see cases in ever-increasing *Page 614 
numbers where for one reason or another the husband may not in fact support the wife. Indeed, there are numerous cases where the wife furnishes the entire support of the husband. The wives are too numerous, who from love, affection, or other reasons personal to themselves, by their own efforts and without complaint maintain their husbands through prolonged sieges of illness, financial reverses, or other fortuitous circumstances; and too many wives and husbands have only by their combined efforts maintained their mutual livelihood, to say that a husband cannot be, as a matter of law, a dependent of the wife. The question of a husband's legal duty to support his wife may be raised only by the wife either directly or indirectly. "Where dependents are among those named as eligible to become beneficiaries, it is often necessary to determine who will fall within that description. A limitation of this character should be liberally construed." Cooley's Briefs on Insurance (2nd ed.), p. 1332; and see L.R.A. 1917F, 398. Construing the policy most strongly against the insurer, as the court must do under a well-settled principle of law, the word "dependent," as used in the policy, means actually (in fact) dependent to a partial extent or degree and not legally dependent in the sense that there is any legal obligation imposed, either at common law or by statute, upon the wife to support the husband — there, of course, being none. Actuality of dependency, not dependency growing out of a legal duty to support, is the test. The question of dependency is one of fact in this particular case, and should have been left to the determination of the jury. See Smith v. Travelers Ins. Co.,71 Ga. App. 24, 26 (29 S.E.2d 709); Scott v. Torrance,69 Ga. App. 309 (25 S.E.2d 120); Sovereign Camp of theWoodmen of the World v. Warner, 25 Ga. App. 449
(103 S.E. 861).
The question remains, however, whether or not the petition sufficiently alleged that the husband was dependent upon the plaintiff wife. We think that we can say with almost perfect certainly that, when the plaintiff contracted with the defendant ant to insure her and "any dependent member of plaintiff's immediate family [who] should be killed as a result of an automobile accident described in said policy," she did so with reference to her own situation and that of her immediate family, and that such was also the intention of the insurance company *Page 615 
in writing the insurance, and if, as a matter of fact, the husband was dependent upon the plaintiff, he was included in the term "dependents of the immediate family." The theory of the petition of the plaintiff, who was the beneficiary under the terms of the policy, was that the husband was a dependent member of the plaintiff's immediate family, and that he was killed as a result of an automobile accident described in the policy of insurance. Relevant to alleging dependency within the meaning of the terms of the insurance policy, a simple direct statement in the petition that the husband was a dependent member of the beneficiary's (the plaintiff's) immediate family would have been sufficient (see, in this connection, Lewis v. Amorous, 3 Ga. App. 50,59 S.E. 338); and where the basis of the general demurrer was that the facts alleged in the petition did not show that the husband was a dependent member of the plaintiff's immediate family within the meaning of the insurance policy, a mere general allegation that he was dependent upon her would have of itself been sufficient as against such general demurrer, in the absence of specific allegations of fact negativing the general allegation, in which event the specific allegations would prevail. For analogous cases, upon principle, see McClure TenCent Co. v. Humphries, 29 Ga. App. 524 (116 S.E. 54);Daniel v. Excelsior Auto Co., 31 Ga. App. 621
(121 S.E. 692); Ogletree v. MacDougald Constr. Co., 45 Ga. App. 128
(163 S.E. 320). We think that there are no allegations which negative the plaintiff's general allegation of the husband's dependency at the time of the accident, and that the court erred in sustaining the general demurrer.
Judgment reversed. Gardner and Townsend, JJ., concur.